       Case 3:17-cv-00939-WHA Document 335-2 Filed 05/02/17 Page 1 of 2




 1

 

 

 

 

 

 

 
                                     UNITED STATES DISTRICT COURT
 
                     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                                        CASE NO. 3:17-cv-00939-WHA

                        Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                     PLAINTIFF WAYMO LLC’S
               vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                     UNDER SEAL PORTIONS OF WAYMO’S
    UBER TECHNOLOGIES, INC.;                            RESPONSES TO QUESTIONS FOR
 OTTOMOTTO LLC; OTTO TRUCKING                        HEARING ON PLAINTIFF’S MOTION
    LLC,                                                FOR PROVISIONAL RELIEF

              Defendants.





               Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

      Portions of Waymo’s Responses To Questions For Hearing on Plaintiff’s Motion For Provisional

      Relief (the “Administrative Motion”).

               Having considered the Administrative Motion, and good cause to seal having been shown,

      the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed

      below:

                Document                                        Portions to Be Filed Under Seal

                Portions of Waymo’s Responses To Questions      Highlighted Portions
             For Hearing on Plaintiff’s Motion For
                Provisional Relief




                                                                           CASE NO. 3:17-cv-00939-WHA
                                        [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 335-2 Filed 05/02/17 Page 2 of 2




 1        IT IS SO ORDERED.
 2

 3 Dated: ______________, 2017

 4                                     HON. WILLIAM ALSUP
                                       United States District Court Judge
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                               -2-                   CASE NO. 3:17-cv-00939-WHA
                                 [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
